                           MEMORANDUM OPINION
{¶ 1} This matter is before this court on the pro se motion of appellant, Nicole L. Brakefield, for leave to file a delayed appeal. Along with the motion, appellant filed her notice of appeal on December 20, 2006. Appellant is appealing her conviction and sentence issued by the trial court on March 8, 2005.
  {¶ 2} No brief or memorandum in opposition to appellant's motion has been filed.
  {¶ 3} App.R. 5(A) provides the following, in part: *Page 2 
  {¶ 4} "After the expiration of the thirty day period provided by App.R. 4(A) for the filing of a notice of appeal as of right, an appeal may be taken by a defendant with leave of the court to which the appeal is taken * * *." App.R. 5(A)(2) states that "[a] motion for leave to appeal shall be filed with the court of appeals and shall set forth the reasons for the failure of the appellant to perfect an appeal as of right. * * *"
  {¶ 5} In her motion, appellant asserts as her reasons for failing to perfect a timely appeal that "she had plead guilty and had to serve a mandatory sentence," and that "she did not know that she could appeal once having plead guilty to the offenses."
  {¶ 6} Appellant was represented by counsel during the lower court proceedings. Given that over one and one-half years elapsed between the time of appellant's conviction and sentence until the filing of her motion for delayed appeal, it is evident that appellant was not diligent in taking the proper steps to protect her own rights. Further, the reasons submitted by appellant as the cause for the delay does not adequately justify waiting that length of time to initiate a direct appeal. Therefore, appellant has not satisfied the requirements of App.R. 5(A).
  {¶ 7} Accordingly, it is ordered that appellant's motion for leave to file a delayed appeal is hereby overruled.
  {¶ 8} Appeal dismissed.
  CYNTHIA WESTCOTT RICE, P. J., MARY JANE TRAPP, J., concur. *Page 1 